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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
v.                                             :       Case No. 1:21-CR-00326 PLF
                                               :
                                               :
MICHAEL FITZGERALD,                            :
                                               :
                       Defendant.              :

                       FEBRUARY 25, 2022 JOINT STATUS REPORT

       The United States of America, through counsel, and Defendant Michael Fitzgerald,

through counsel, hereby submit their February 25, 2022 Joint Status Report pursuant to the

Court’s February 15, 2022 Minute Order and state as follows:

       1.      The Defendant in this case has been charged by Indictment with violations of 18

U.S.C. § 231(a)(3) (Civil Disorder); 18 U.S.C. § 1512(c)(2), 2 (Obstruction of an Official

Proceeding); 18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building or

Grounds); 18 U.S.C. § 1752(a)(2) (Disorderly and Disruptive Conduct in a Restricted Building

or Grounds); 40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building); and 40

U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building).

       2.      The Government has substantially completed providing Defendant with discovery

in this case consisting of, but not limited to the following:

            a. CCTV video from January 6, 2021;

            b. Open-source social media videos;

            c. Returns from social media warrants;

            d. FBI reports; and
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             e. Voluminous discovery, which pertains to the January 6, 2021 insurrection and has

                   been served via USAfx and the Relativity database (the primary vehicle of

                   searchable discovery that is being shared with all January 6th defendants).

        3.         The Government has also provided defense counsel access to a tour of the crime

scene, which has been directed by the United States Capitol Police.

        4.         The Government has offered a plea to Defendant Fitzgerald which would include

a plea of guilty to Count 1 of the indictment, one violation of 18 U.S.C. § 231(a)(3). Defendant’s

counsel has since indicated that Defendant Fitzgerald plans to accept the plea but is currently

undergoing extensive treatment for a serious medical condition.

        5.         On February 12, 2022, the Court held a status conference. Defendant Fitzgerald

was unable to attend because of his current medical condition. Upon motion of the parties, the

Court continued the status conference until March 16, 2022, and, in the interest of justice, the

Speedy Trial Act was tolled up through the same date. The Court advised the parties to contact

the Court in advance, if Mr. Fitzgerald was unable to attend the March 16, 2022, hearing.

        6.         On February 15, 2022, the Court issued a minute order requesting that the parties

propose dates after April 11, 2022 to set a status conference in this case. The parties propose to

set a status conference on any of the following dates, which are generally available at this time

for the parties:

             a. May 2, 2022 – May 6, 2022; and

             b. May 9, 2022 – May 13, 2022.

        7.         Notably, given the serious nature of Mr. Fitzgerald’s health condition and

ongoing treatment, it is unlikely he will be able to attend any hearings for quite some time.




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                            Respectfully submitted,

                            FEDERAL DEFENDER PROGRAM

                            By: /s/ Mary Judge
                            MARY JUDGE
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                            and

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